UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ZAKUNDA-ZE HANDBERRY, et al.,                                 DECLARATION OF
                                                              TONYA THREADGILL
                                         Plaintiffs,
                                                              96 CV 6161 (GBD/JCF)
        -agarnst

WILLIAM C. THOMPSON, JR., et al.,

                                         Dcfcndants



        I. Tonya Threadgill. declare that the following facts are true upon penalty of perjury

pursuant to 28 U.S.C. $ 1746.

        1.        I   am the-principal of East River Academy ("ERA"), the educational program on

Rikers Island run by the New York City Department of Education ("DOE").            I   have held this

position since December 2013. I have been employed as a teacher and administrator on Rikers

Island for the DOE and belore that the New York City Board of Education since 1995. I have

personal knowledge regarding the educational program offered by the DOE on Rikers Island,

including those offered to the inmates at issue in Handberry v. Thompson, as well as the

interrelationship between ERA and the New York City Department of Correction ("DOC"),

wlrich operates the jails at which ERA provides educational services to the Handberry inmates.

(DOE and DOC are collectively referred to in this declaration as the "City Defendants.") This

declaratior.r   is submitted in support of the City Defendants' application for confirmation of
portions of Special Master Peter Leone's Third Report On the Slatus of Education Services.for

Inntates Agecl l6-21 ctt Rikers'l:;lund. revised July 2,2018 ("Third Report" or "Report"; Docket

No. 273-2) and in opposition to Plaintiffs' Objections to Dr. Peter Leone's Second and Third

Monitoring Reports (Docket No. 284).

        2.        My attorney advises me that in its April 2006 decision, the U.S. Court of Appeals

fbr the Second Circuit referred to the inmates at issue in Handberuy t). Thompson as "eligible
inmates." Accordingly,     I   use that term throughout this declaration. An eligible inmate is

someone who meets the following criteria:

                   a.    is incarcerated at a correctional facility operated by DOC; and
                   b.    has been incarcerated for ten or more calendar days, or in the
                         judgment of the warden of the inmate's facility, is reasonably
                          likely to be incarcerated for ten or more calendar days, plus an
                          additional ten school days; and
                    c. has not received a high school diploma or its equivalent; and
                    d.   is under 21 years of age on September 1 of the applicable school
                         year; and
                   e. if    the inmate is 18-21 years of age, has indicated his desire to
                         receive DOE-provided educational services while incarcerated at a
                         DOC correctional facility.

See Handberry    v. Thompson, 219 F.Supp .2d 525,546 (S.D.N .Y. 2002), aff'd in part, vacated in

part and remanded in part, 446 F.3d 335 (2d Cir.2006); see also, Declaration of Timothy
Lisante dated October 12,2007 ("Lisante Decl."), Ex. A (Education Plan) at2.

       3.       East River Academy ("ERA";, the school program            I   ntn on Rikers Island, is
operated by DOE's District 79: Alternative Schools and Programs         ("D79"). D79 is responsible
for running a variety of educational programs for students under 21 who have experienced               an

interruption in their studies and helps those students:   (l)   stay on track to obtain a high school

diploma or high school equivalency diploma; (2) build the skills to succeed in post-secondary

opportunities; and (3) gain the social-emotional skills necessary to become confident and

productive members       of society. D79   programs include programs          for court-involved   youth,

student parents, students studying for the high school equivalency exam, and ERA, DOE's

educational program fbr eligible inmates on Rikers Island.

       4.       My responsibilities include: (a) functioning    as the liaison between DOE and DOC

on issues concerning educational services provided by DOE to inmates in DOC custody                   on

Rikers Island; (b) running ERA; and (c) advising DOE on issues irnpacting its provision of

educational services on Rikers Island.




                                                  2
EDUCATIONAL SERVICES

          5.     I   have reviewed    all of Dr. Leone's reports issued in regard to his monitoring

activities in Handberry v. Thompson, including Dr. Leone's Second and Third Reports (Docket

Nos.273-1 and273-2),       as   well as the Court's current injunction order issued on March 31,2016

(Docket     No.250).     Because    Dr. Leone's monitoring activities ended with the 2018 Spring

semester,   I have largely confined this declaration to that period   as   it is the period covered by Dr.

Leone's Third Reporl. During the 2011-18 school year, DO.U enrolled 1341 eligible inmates at

ERA, with an average daily enrollment of 301 students.


          6.     Average length of enrollment in instructional days was 29 days last school year.

The high turnover of eligible inmates and the short duration of incarceration for the vast majority

of them are well documented in this litigation and continue to be an ongoing challenge to ERA.


          7.     During the 2017-18 school year, ERA made educational services available each

school day (unless closed for unforeseen circumstances, such as snow storms or TSOs [technical

search operations]) at the following     jails: (a) Robert N. Davoren Center ("RNDC"); (b) Eric M.

Taylor Center ("EMTC"); (c) Rose M. Singer Center ("RMSC"); (d) George Motchan Detention

Center ("GMDC"); (e) Otis Bantum Correctional Center ("OBCC"); and (f) George R. Vierno

Center ("GRVC"). Sce table below. At GRVC Secure and OBCC ESH, ERA made three hours

of daily educational services available in the morning between 8am -          11   :35am. There was also   a


comparable afternoon session at OBCC            ESH. In addition, ERA made            educational services

available at the North Infirrnary Command ("NIC") on a per session basis in the afternoon each

school day, ERA also assignecl a teacher to the West Facility ("West") on the same per session

basis   fol any eligible inmate   housed at West who elected to receive educational services.




                                                     -)
School Site               Hours of Instruction        Class/Teacher/Room       Student
                                                      Schedules                Population
RNDC Main                 8am   -   2:20pm            Exhibit A                Adolescent
                                                                               males,
                                                                               including TRU
                                                                               and Second
                                                                               Chance
RNDC Annex                8am   -   2:20pm            Exhibit B                Adolescent
                                                                               males,
                                                                               including
                                                                               TRU, Second
                                                                               Chance, MO
                                                                               and PC
RMSC                      8am   -   2:20pm            Exhibit C                All Females -
                                                                               adolescent and
                                                                               young adults
EMTC                      8am   -   2:20pm            Exhibit D                Young adult
                                                                               males - City
                                                                               Sentenced
GMDC Main                 8am - 2:20pm                Exhibit E                Young       adult
                          and afternoon session                                males

GMDC Peace                8am - 2:20pm                Exhibit F                Young       adult
                                                                               males



Last school year, all eligible inmates who were 16 and 17 years old (aka adolescents) were

housed together at   jails located on Rikers Island. Regardless of housing unit, all   adolescents

received educational services in a classroom setting and all received more than three hours each

school   day. Currently, all adolescents     are housed at the Horizon Secure Juvenile Detention

Facility, pursuant to the Raise tlie Age legislation, which went into effect on October 1,2018.

Thus, ERA no longer educates any adolescents, regardless of whether they are pretrial or post-

adjudicatiorr.




                                                  4
         8.       To serve students, ERA employed the following staff members across all sites last

school year

              a   4 assistant principals

              a   48 licensed content-area teachers

              o   13 licensed special education teachers

              .    1   reading teacher

              .   17 guidance counselors, social workers and psychologists

              .    I   speech teacher

              o    l0educationalparaprofessionals

     '        .   25 administrative professionals

All ERA     teachers are licensed by the New York State Education Department and receive high-

quality, tailored, professional development throughout the school year. D79 also provides

professional development training to transitional services counselors.

         9.       While ERA is a multi-sited program, staff             in D79 continuously work to
consolidate services such that     if   an eligible inmate is transferred from one   facility to another, his

education     will remain   consistent across all of the sites. For example, teachers in all sites use a

common pacing calendar that describes a range of topics, broken down into short modules, to be

taught in each core subject area for every day of the school year. Additionally, ERA utilized

program-wide assessrnents via teacher generated assessments, quizzes and tests.

A.       All stuclents are offbred a minintum     o.f'3 hours of educational sert,ices each school day.

         10.      Last school year. ERA off-ered more than three hours of academic instruction each

sclrool day to all mernbers of the Handberry class         -   and in most instances, ERA offered more

than five hours. See paragraph 7 above. including Exs.             A-F.   Although not required by the



                                                       5
federal court order in this case, last school.year, all ERA school sites offered instruction pursuant

to N.Y. Education Law $ 3202(7) and 8 NYCRR 118.4 in reading, mathematics and written and

oral communication. All high school students typically participated in core subject area courses,

and adolescent students frequently received extended periods in English Language                       Arts. All
ERA students had and continue to have an opportunity to elect to attend credit-bearing                      classes


toward obtaining high school credits while incarcerated that count toward a regular high school

diploma. As has been the practice lor rrrany yeal's, although the instruction and course work is

provided by ERA, the high school diploma is actually granted by the eligible inmate's home

school in the community. In addition, a student may also work toward a high school equivalency

diploma through non-credit bearing coursework.' This is the diploma pursued by most ERA

students, and they focus on coursework in areas needed to pass the exam. Many students take

courses that meet thc rcquircmcnts for both typcs of diplomas.

         I   l.   As documented by the Special Master, class sizes last school year were small and

were generally composed of 15 or fewer students at all sites. This continues to be the case.                       All

students were and continue to be offered a minimum of three hours of instruction each school

day. 'In particular, students in special housing units such as Second Chance Housing ("Second

Chance") and the Transitional Restorative Unit ("TRU") were offered three or more hours of

daily instruction from dedicated ERA teachers.

B.      Enrollntenl Proceclures, Record.; Rettiev, and Eclucalional Progrctrtmtintg

         12.      On the first day that    ar-r   eligible inmate appears at ERA, the inmate meets with an

odentation team, consisting of a transition counselor and/or community associate who provides

information about the school programs available at ERA, reviews the student's transcript and


' A high school equivalency diplorna ("HSE") will be issued to a student who passes the test assessing secondary
corrpletion ("TASC"). This replaces the prior test, the general educational developtrent test or GED.


                                                          6
educational history, and discusses information regarding student rights and post-discharge

transition. Next, the student is given the Test of Adult Basic Education ("TABE") placement test

to   determine, among other things, the student's academic strengths and weaknesses and

functional grade level. DOE also reviews its computerized records for the student, including

those pertaining to special education, to determine whether the eligible inmate is a student with a

disability. On the basis of the initial review of computerized DOE records and the placement test

results, ERA creates an initial plograll of classes for the studeut, which s/he is eligible to begin

by the next school day. To the extent feasible, ERA tries to provide the student with a program

of coursework comparable to that s/he last received. As noted by the Special Master, ERA

retrieves the transcript of each of its students.

        13. If it is determined that the eligible inmate is a student with a disability,         ERA

providcs scrviccs to thc studcnt in thc samc monncr as it has for mony years. When the student

enrolls, s/he is immediately placed in a program and simultaneously, ERA staff reviews the

Special Education Student Information System ("SESIS") (a DOE computer system that pertains

to students with disabilities)   (l) to confirm that the student is a student with an IEP, and (2) to
determine whether an electronic IEP is readily accessible. Almost all students have their last

IEPs stored in SESIS.    If a student is not in SESIS, ERA will request the student's IEP from     the

prior educational placement. ERA will review the student's IEP and a Special Education Plan

("SEP"), forrnerly called a Temporary Education Plan ("TEP"), is created that takes into account

the IEP mandates and reflects the special education program requirements to be implemented at

ERA. A      conference, at which the parent         is invited to attend, is lield within 30 days of

enrollment. and the SEP is faxed into SESIS and maintained in the student's       file.   Creation and

use   of the SEP aI ERA remains consistent with lhe Standard Operating Procedures


                                                     7
collaboratively developed by the New York State Education Department, the teachers' union, the

United Federation of Teachers, and the DOE, and functions as the student's individualized

education program ("IEP") during incarceration. Last school year, ERA wrote 289 SEPs, and

completed six reevaluations.

        14.    A range of special education services was available for ERA students last school

year. This is also true this school year. Students who need it, receive intensive literacy supports

taught by special education licensed teachers in small grolrps. Other services are also available

to ERA students with disabilities depending on need, including but not limited to specialized

instruction provided by or through a special education teacher, special education teacher support

services, collaborative team teaching, skills development,       etc. Additionally, related   services,

such as counseling and speech, are also delivered to students.

       15.     In addition, DOC notified me on a number occasions last school year that they

were transferring 18-27 year olds to jails at which ERA provided educational services because

those inmates had requested access. ERA followed up with the transfered eligible inmates by

providing them with access to educational services.         I    further note that last school year

adolescents were always housed at jails at which ERA provided educational services.

C.     Reslricletl Housing Units

       16.     The housing units last school year that were denominated as restrictive housing

were Enhanced Supervision Housing ("ESH") aI OBCC, and the Secure Housing Unit

("Secure") at GRVC. Only inr.nates who are l8 or older were placed in these units.

       17.     The adolescents who w'ere placed last school year in TRU and Second Chance

Housing, both of which are special housing units, attended ERA in the Annex in their own

classrooms. They had a 5+ hourprogram each school day. See Exhibit B.




                                                8
          18.     Last school year, ERA made available a 3* houlprogram of general and special

education each school day to students in ESFL We are doing the same this school year. There

are   two instructors in this unit.

          19.     In addition, ERA made available a comparable 3+ hour daily educational program

at GRVC last school year, and is doing the same this school year.

          20.     Finally, eligible inmates who are housed in mental observation units or protective

custody were and continue to he provided 5+ hours of educational services each school day.




EDUCATIONAL OUTCOMES

          21.     In addition to working to create a unified program across all ERA sites, ERA                       has

achieved many academic milestones over the past several years.

          22.     Last year, ERA administered 97 Regents exams. The pass rate was 48Yo overcll,

with a 620/o pass rate for students with disabilities.

          23.     In addition, credit accumulation increased at ERA. Last school year, the                      mean

average number of credits earned was            3.8.2 Additionally, almost all students on ahigh,school

track earned 5 or more credits and sorte earned 10 or more credits.

         24.      Last school year, 71 ERA students were awarded their high school equivalency

diploma, which amounts to a pass rate of over            75olo.




OTHER POSITIVE OUTCOMES AND PROGRAM SUCCESSES

          25.     In addition to educational outcomes at ERA, staff have been workingto facilitate

smoother transitions for students Llpon returning to the community. ERA established an off-



'The rrrean average nurnber of credits earned Iast year at ERA by students with disabilities was 3.8, which is the
same as for all ERA students corrbined.



                                                          9
Island transition team to help formerly disconnected students visit D79 Referral Centers for High

School Alternatives ("Referral Centers"). Referral Centers are borough-based offices staffed

with guidance counselors, social workers and other staff members who work to help           students

find their best pathway to a diploma or HSE by (1) engaging in an evaluation of student

transcripts; (2) exploring   all possible academic tracks available to     students; (3) discussing

options for educational placements and school enrollment; and (4) making other appropriate

referrals to child care, social work services, dnrg rehabilitation programs and housing support.

ERA transition specialists follow discharged students for up to 6 months after release and work

to reengage the students both in school and the world of work.

       26.     Career and Technical Education ("CTE") has also been developed at        ERA. Last

school year, students earned CTE credentials (e.g., OSHA certifications, food handler

certificates) and these offerings are growing each year. Cumently, ERA offers ongoing CTE

courses in the areas of barbering, culinary arts, carpentry, building maintenance, and horticulture.




                                                 10
I declare upon penalty of perjury     pursuant to 28 U.S.C. $ 1746 that the foregoing statements are

true and correct.


Dated:          December 18,2018
                East Elmhurst,   NY




                                                           East ver Academy
                                                District 79:          Schools and Programs
                                                New York City Department of Education
